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                                          No. 23-1849

                        In the United States Court of Appeals
                                            For the
                                       Fourth Circuit

        In re: SOUTH CAROLINA DEPARTMENT OF PARKS, RECREATION AND
        TOURISM
        In re: GOOGLE DIGITAL ADVERTISING ANTITRUST LITIGATION, 1:21-md-
        3010-PKC; and STATE OF TEXAS, et al. v. GOOGLE LLC, 1:21-cv-6841-PKC


                           SOUTH CAROLINA DEPARTMENT
                        OF PARKS, RECREATION AND TOURISM,

                                                    Movant-Appellant,
                                               v.

                                        GOOGLE LLC,

                                                    Respondent-Appellee.


                        On Appeal from the United States District Court
                              for the District of South Carolina


                            BRIEF OF MOVANT-APPELLANT


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                    UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT

                                          DISCLOSURE STATEMENT

        •    In civil, agency, bankruptcy, and mandamus cases, a disclosure statement must be filed by all
             parties, with the following exceptions: (1) the United States is not required to file a disclosure
             statement; (2) an indigent party is not required to file a disclosure statement; and (3) a state
             or local government is not required to file a disclosure statement in pro se cases. (All parties
             to the action in the district court are considered parties to a mandamus case.)
        •    In criminal and post-conviction cases, a corporate defendant must file a disclosure statement.
        •    In criminal cases, the United States must file a disclosure statement if there was an
             organizational victim of the alleged criminal activity. (See question 7.)
        •    Any corporate amicus curiae must file a disclosure statement.
        •    Counsel has a continuing duty to update the disclosure statement.


            23-1849
        No. __________             Caption: __________________________________________________
                                            S.C. Department of Parks, Recreation & Tourism v. Google LLC

        Pursuant to FRAP 26.1 and Local Rule 26.1,

        ______________________________________________________________________________
        South Carolina Department of Parks, Recreation and Tourism
        (name of party/amicus)

        ______________________________________________________________________________

         who is _______________________,
                          Appellant           makes the following disclosure:
        (appellant/appellee/petitioner/respondent/amicus/intervenor)


        1.      Is party/amicus a publicly held corporation or other publicly held entity?        YES ✔ NO


        2.      Does party/amicus have any parent corporations?                                   YES ✔ NO
                If yes, identify all parent corporations, including all generations of parent corporations:




        3.      Is 10% or more of the stock of a party/amicus owned by a publicly held corporation or
                other publicly held entity?                                                 YES ✔ NO
                If yes, identify all such owners:




        12/01/2019 SCC                                   -1-
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        4.    Is there any other publicly held corporation or other publicly held entity that has a direct
              financial interest in the outcome of the litigation?                           ✔ YES NO
              If yes, identify entity and nature of interest:
              Alphabet Inc. - Parent/owner of Appellee Google LLC




        5.    Is party a trade association? (amici curiae do not complete this question)     YES ✔ NO
              If yes, identify any publicly held member whose stock or equity value could be affected
              substantially by the outcome of the proceeding or whose claims the trade association is
              pursuing in a representative capacity, or state that there is no such member:




        6.    Does this case arise out of a bankruptcy proceeding?                                   YES ✔ NO
              If yes, the debtor, the trustee, or the appellant (if neither the debtor nor the trustee is a
              party) must list (1) the members of any creditors’ committee, (2) each debtor (if not in the
              caption), and (3) if a debtor is a corporation, the parent corporation and any publicly held
              corporation that owns 10% or more of the stock of the debtor.




        7.    Is this a criminal case in which there was an organizational victim?                YES ✔ NO
              If yes, the United States, absent good cause shown, must list (1) each organizational
              victim of the criminal activity and (2) if an organizational victim is a corporation, the
              parent corporation and any publicly held corporation that owns 10% or more of the stock
              of victim, to the extent that information can be obtained through due diligence.




                   s/R. Walker Humphrey, II
        Signature: ____________________________________                     Date: ___________________
                                                                                       08/30/2023

                     SC Dept of Parks, Rec. & Tourism
        Counsel for: __________________________________




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                               JURISDICTIONAL STATEMENT

              Google LLC issued a federal court subpoena duces tecum to the South

        Carolina Department of Parks, Recreation and Tourism (SCPRT). JA 31–67. The

        subpoena commanded compliance in Columbia, South Carolina. JA 32. SCPRT

        moved to quash the subpoena in the District of South Carolina because the subpoena

        violates SCPRT’s sovereign immunity from suit in federal court. JA 7–8. The district

        court had jurisdiction under Fed. R. Civ. P. 45(d)(3). See In re Non-Party Subpoena

        to Ctr. for Study of Soc. Pol’y, No. 21-mc-65, 2023 WL 2467738, at *2 n.2 (D.D.C.

        Mar. 7, 2023) (“Because the Subpoena ordered CSSP to comply in the District of

        Columbia, this Court may properly consider the instant motion [to quash].”).

              The district court issued its order denying SCPRT’s claim of sovereign

        immunity on July 12, 2023. JA 158–165. SCPRT timely appealed to this Court on

        August 11, 2023. JA 166–167; see Fed. R. App. P. 4(a)(1)(A). This Court has

        jurisdiction under the collateral order doctrine. See P.R. Aqueduct & Sewer Auth. v.

        Metcalf & Eddy, Inc., 506 U.S. 139, 147 (1993) (“States and state entities that claim

        to be ‘arms of the State’ may take advantage of the collateral order doctrine to appeal

        a district court order denying a claim of Eleventh Amendment immunity.”); Bonnett

        v. Harvest (U.S.) Holdings, Inc., 741 F.3d 1155, 1157–59 (10th Cir. 2014) (holding

        the collateral order doctrine grants jurisdiction to review the denial of a motion to

        quash a subpoena which asserts sovereign immunity).


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                                     STATEMENT OF ISSUES

              Did the district court err in denying SCPRT’s sovereign immunity from

        subpoenas issued by a federal court?

                                    STATEMENT OF THE CASE

              Nine states led by Texas sued Google in the Eastern District of Texas for

        violating federal antitrust and related state laws through its online display ad

        business. 1 South Carolina, solely through its Attorney General, intervened as a

        plaintiff. JA 478–479. The state plaintiffs’ causes of action fall into two categories:

        (1) Counts I–IV asserting violations of 15 U.S.C. §§ 1 and 2 (the Sherman Act) and

        seeking only injunctive relief pursuant 15 U.S.C. § 26 (the Clayton Act), and (2)

        Counts V and VI asserting violations of state antitrust and unfair competition laws.

        See JA 218–219, JA 232, JA 511. As brought by the South Carolina Attorney

        General, Claims V and VI seek injunctive relief, a civil penalty (not actual damages),

        and attorneys’ fees and costs under the South Carolina Unfair Trade Practices Act

        (SCUTPA), S.C. Code Ann. §§ 39-5-10 to -180, in the name of the state based on

        “Google’s acts or practices regarding South Carolina consumers.” JA 431–432, JA


              1
                Texas v. Google, LLC was transferred to the In re Google Digital Advertising
        Antitrust Litigation MDL in the Southern District of New York. Google issued its
        subpoena to SCPRT out of the Southern District of New York. The Judicial Panel
        on Multidistrict Litigation thereafter remanded the case to the Eastern District of
        Texas under amendments to the MDL statute. JA 671–675. The Second Circuit
        recently denied Google’s petition for a writ of mandamus to reverse the JPML’s
        decision. JA 676. The underlying case therefore will return to the Texas court.

                                                  2
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        445–446. The Attorney General does not assert harm to South Carolina’s sovereign

        or proprietary interest. The SCUTPA claims are stayed. JA 195, JA 212, JA 510.

              At Google’s urging, the antitrust court found that each state was not acting “in

        the capacity of a sovereign but as a private enforcer” when bringing its federal claims

        for injunctive relief. JA 503–505, JA 591–593. The Attorney General brought his

        SCUTPA claim in the public interest as parens patriae. See infra pp. 30–31. As

        Google recognized before the antitrust court, parens patriae is a quasi-sovereign—

        and not sovereign—role. JA 504. And it was undisputed below that the South

        Carolina Attorney General proceeding as parens patriae does not represent any

        South Carolina agency or department, such as SCPRT, and does not have possession,

        custody, or control over their records. See JA 94–95; see also JA 75, JA 77, JA 89

        (Google relying, in opposition to SCPRT’s motion to quash, on a letter from the state

        attorneys general taking this position); JA 164–165 (the district court relying on this

        ‘letter in its order denying SCPRT’s motion); H.B. 3866 § 1, 125th Gen. Assemb.,

        Reg. Sess. (2023) (clarifying that the South Carolina Attorney General proceeding

        in the public interest does not represent individual agencies or have possession,

        custody, or control over their records).2

              Because the Attorney General as parens patriae does not have possession,

        custody, or control over SCPRT’s records, Google served an expansive third-party


              2
                  The history and text of this bill are reproduced in the addendum to this brief.

                                                    3
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        subpoena seeking SCPRT’s online advertising file. JA 31–67. The subpoena has 118

        defined terms and demands that SCPRT produce, under the threat of contempt, 27

        categories of records which will fully expose SCPRT’s proprietary digital

        advertising campaign. JA 31–67. Nearly all records sought constitute trade secrets

        which are exempt from production under the South Carolina Freedom of Information

        Act. See S.C. Code Ann. § 30-4-40(1) (defining the trade secret exemption).

              SCPRT moved to quash the subpoena on the ground that it violates SCPRT’s

        Eleventh Amendment sovereign immunity from suit in federal court.3 JA 7–8.

        Google did not dispute that SCPRT is entitled to Eleventh Amendment immunity.

        JA 78. SCPRT argued that this immunity includes immunity from federal court

        subpoenas pursuant to prevailing circuit court opinions. JA 19–23, JA 103–106.

        SCPRT further argued that the Attorney General did not waive SCPRT’s immunity

        by bringing his claims against Google because: the Attorney General did not act in

        a sovereign capacity; he has no executive control over SCPRT; he does not have

        custody or control over SCPRT’s records; and this case does not fit within the narrow




              3
                States enjoy sovereign immunity from suit, which is at issue here, and
        sovereign immunity from liability in a suit, which is not at issue here. To avoid
        confusion, SCPRT uses the term Eleventh Amendment immunity as “convenient
        shorthand” for a state’s broader immunity from suit in federal court. See Alden v.
        Maine, 527 U.S. 706, 713 (1999). This immunity from suit is not limited to the
        Eleventh Amendment’s text, however. See infra pp. 8–10.

                                                 4
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        circumstances under which one agency can waive the immunity of another. JA 24–

        27, JA 109–112.

              The district court denied SCPRT’s immunity claim. The court assumed,

        without deciding, that states are immune from federal court subpoenas. JA 163. But

        it concluded that “such immunity would have been waived by South Carolina’s

        voluntary involvement in the underlying action.” JA 163. The court characterized

        SCPRT’s immunity as “derivative in nature” and “only exist[ing] due to the

        immunity afforded to South Carolina and [SCPRT’s] relationship to South Carolina

        as a state agency.” JA 164. It determined that “it makes little sense[] to find a state’s

        immunity can be imputed to its agencies but not its waiver of such immunity.” JA

        164. Relying on a letter from the state plaintiffs’ outside counsel in the antitrust case

        suggesting that “Rule 45 subpoenas . . . are the proper channels” for Google to seek

        agency documents, the district court found “it would be fundamentally unfair to

        punish Google for simply following South Carolina’s instruction to subpoena the

        requested documents because South Carolina allegedly lacks custody, control, and

        possession over documents within SCPRT.” JA 164–165. But the district court did

        not analyze the nature of SCPRT’s and the Attorney General’s relationship, the

        nature of the Attorney General’s role in the antitrust case, the cases restricting one

        state agency’s ability to waive the immunity of another, or the context of the state

        plaintiffs’ generic “instruction” to subpoena agency records.


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              SCPRT timely appealed. JA 166–176. The district court stayed its denial of

        SCPRT’s Eleventh Amendment immunity pending this appeal. JA 168–172.

                                    SUMMARY OF ARGUMENT

              The question presented relies upon two core principles of federalism. The first

        is the constitutional design that immunizes states from suit in federal court. The

        second is the admonition that federal courts respect states’ choice of government

        organization. Properly applying these immutable rules compels reversal of the

        district court’s denial of SCPRT’s sovereign immunity.

              Whether state agencies are immune from federal court subpoenas is a novel

        question in this circuit. However, binding precedent holding that state subpoenas to

        the federal government violate sovereign immunity, the broad historical definition

        of a “suit” as covering any exercise of coercive judicial process, and case law from

        other circuits each confirm that state immunity from suit includes subpoenas. But

        the district court erroneously overrode this immunity by disregarding the structure

        of South Carolina state government. The Attorney General is constitutionally

        separate from executive agencies like SCPRT. He does not represent them or have

        possession, custody, or control over their records in non-sovereign private

        enforcement and parens patriae actions like the one against Google. And the case

        he joined does not subject the entirety of state government to federal court process.

        He consequently could not and did not waive SCPRT’s subpoena immunity.


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              This Court should reverse the district court’s denial of SCPRT’s sovereign

        immunity.

                                   STANDARD OF REVIEW

              This Court reviews the district court’s denial of SCPRT’s sovereign immunity

        de novo. See Pense v. Md. Dep’t of Pub. Safety & Corr. Servs., 926 F.3d 97, 100

        (4th Cir. 2019) (“Our review of the Immunity Decision is de novo.”); Harter v.

        Vernon, 101 F.3d 334, 336–37 (4th Cir. 1996) (“We review questions of the

        applicability of Eleventh Amendment immunity de novo.”); see also Russell v.

        Jones, 49 F.4th 507, 512 (5th Cir. 2022) (reviewing de novo the denial of a motion

        to quash a subpoena under sovereign immunity); Bonnett, 741 F.3d at 1159 (same);

        Alltel Commc’ns, LLC v. DeJordy, 675 F.3d 1100, 1102 (10th Cir. 2012) (same).

                                         ARGUMENT

        I.    SCPRT’s Eleventh Amendment Immunity from Suit in Federal Court
              Bars Google’s Subpoena.

              While the district court assumed without deciding that SCPRT is immune

        from federal court subpoenas, this threshold question is relevant to this Court’s

        jurisdiction and to properly frame the immunity waiver analysis. As explained

        below, SCPRT’s Eleventh Amendment immunity extends to federal court

        subpoenas.




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           A.      State immunity from suit in federal court is a structural feature of the
                   U.S. Constitution.

                The individual states in this country “retain ‘a residuary and inviolable

        sovereignty’” and “are not relegated to the role of mere provinces or political

        corporations[.]” Alden v. Maine, 527 U.S. 706, 715 (1999) (quoting The Federalist

        No. 39, at 245). This sovereignty began with the Declaration of Independence, in

        which the states declared themselves to be “Free and Independent States” which

        were entitled to “all the rights and powers of sovereign states.” Franchise Tax Bd.

        of Cal. v. Hyatt, 139 S. Ct. 1485, 1493 (2019) (citations and quotations omitted).

        Given their sovereign status, “[t]he Founders believed that both ‘common law

        sovereign immunity’ and ‘law-of-nations sovereign immunity’ prevented States

        from being amenable to process in any court without their consent.” Id. Indeed, the

        states’ immunity from private suit is an “integral component” of their sovereignty.

        Fed. Mar. Comm’n v. S.C. State Ports Auth., 535 U.S. 743, 751–52 (2002). While

        states gave up some immunity by joining the union, the Constitution “did not disturb

        States’ immunity from private suits” and in fact “enshrin[ed] this principle in our

        constitutional framework.” Id. at 752. State sovereign immunity from private suit

        thus is a “historically rooted principle embedded in the text and structure of the

        Constitution.” Franchise Tax Bd. of Cal., 139 S. Ct. at 1499.

                The sovereign immunity enjoyed by the states prohibits federal courts from

        hearing suits brought against non-consenting states. Tenn. Student Assistance Corp.

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        v. Hood, 541 U.S. 440, 446 (2004). Though it often is called “Eleventh Amendment”

        immunity,4 a state’s sovereign immunity “derives not from the Eleventh Amendment

        but from the structure of the original Constitution itself.” Alden, 527 U.S. at 728.

        “The Eleventh Amendment confirmed, rather than established, sovereign immunity

        as a constitutional principle[.]” Id. at 728–29; see also Blatchford v. Native Vill. of

        Noatak & Circle Vill., 501 U.S. 775, 779 (1991) (“[W]e have understood the

        Eleventh Amendment to stand not so much for what it says, but for the

        presupposition of our constitutional structure which it confirms . . . .”).

              This immunity largely is a matter of federalism. Pennhurst State Sch. & Hosp.

        v. Halderman, 465 U.S. 89, 100 (1984). It preserves the respect owed to states as

        joint sovereigns with the federal government. Fed. Mar. Comm’n, 535 U.S. at 765;

        Alden, 527 U.S. at 714; see also Pennhurst, 465 U.S. at 99–100 (“[B]ecause of the

        problems of federalism inherent in making one sovereign appear against its will in

        the courts of the other, a restriction upon the exercise of the federal judicial power

        has long been considered to be appropriate in a case such as this.”) (quotation

        omitted). This dual sovereignty was a “great innovation” of the founders: “our

        citizens would have two political capacities, one state and one federal, each protected




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                “The Judicial power of the United States shall not be construed to extend to
        any suit in law or equity, commenced or prosecuted against one of the United States
        by Citizens of another State.” U.S. Const. amend. XI.

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        from incursion by the other—a legal system unprecedented in form and design.”

        Printz v. United States, 521 U.S. 898, 920 (1997) (quotation omitted).

           B.        Eleventh Amendment immunity shields states from federal court
                     subpoenas.

                Whether Eleventh Amendment immunity protects states from federal court

        subpoenas is a novel question in this circuit. Va. Dep’t of Corrs. v. Jordan, 921 F.3d

        180, 188 (4th Cir. 2019) (“[T]his Circuit has not addressed whether a subpoena

        issued against a nonparty state agency—not merely a state official—runs afoul of

        that state’s sovereign immunity . . . .”). But that question is readily answered “yes.”

        Immunizing states from federal court subpoenas is the only conclusion supported by

        binding precedent, persuasive precedent, and the Constitution.

                1.     Binding precedent compels the conclusion that states are immune from
                       federal court subpoenas.

                Eleventh Amendment immunity is a complete immunity from suit, not merely

        a defense to liability. Fed. Mar. Comm’n, 535 U.S. at 766. It “avoid[s] the indignity

        of subjecting a State to the coercive process of judicial tribunals at the insistence of

        private parties.” Seminole Tribe of Fla. v. Florida, 517 U.S. 44, 58 (1996) (quotation

        omitted). The type of relief sought is “irrelevant to the question [of] whether the suit

        is barred by the Eleventh Amendment.” Id

                The Supreme Court defines a “suit” for state Eleventh Amendment immunity

        the same way as it does federal sovereign immunity from suit in state court. A suit


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        includes all instances where a judgment would be paid by public funds, would

        “interfere with the public administration,” or would “restrain the Government from

        acting, or to compel it to act.” Pennhurst, 465 U.S. at 101 n.11 (cleaned up) (applying

        this definition to Eleventh Amendment immunity); Dugan v. Rank, 372 U.S. 609,

        620 (1963) (referring to federal sovereign immunity).

              This Court has held that state court subpoenas to the federal government are

        suits under this definition:

              The nature of the subpoena proceeding against a federal employee to
              compel him to testify about information obtained in his official capacity
              is inherently that of an action against the United States because such a
              proceeding interferes with the public administration and compels the
              federal agency to act in a manner different from that in which the
              agency would ordinarily choose to exercise its public function.

        Boron Oil Co. v. Downie, 873 F.2d 67, 70–71 (4th Cir. 1989) (cleaned up). Because

        states are immune from the same suits as the federal government, Boron Oil bars

        federal court subpoenas to states.

              2.     Two hundred years of precedent otherwise confirms that states are
                     immune from federal court subpoenas.

              Even without the benefit of Boron Oil, decisions from the Supreme Court and

        the other circuit courts compel the same conclusion: states are immune from federal

        court subpoenas.




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                  a.     Subpoenas fall under the Supreme Court’s long-standing definition
                         of “suit” for Eleventh Amendment immunity.

              For nearly 200 years, the Supreme Court has held that a “suit” extends well

        beyond the initiation of a formal lawsuit through the filing of a complaint and

        includes any exercise of coercive federal judicial process.

              For example, in Cohens v. Virginia, 19 U.S. 264 (1821), the Court answered

        “[w]hat is a suit” by saying it is “the prosecution, or pursuit, of some claim, demand,

        or request,” and the instruments by which one makes “the lawful demand of one’s

        right” are a “diversity of suits and actions.” Id. at 407–08. Just eight years later, the

        Court reiterated that the historical meaning of the term “suit” is

              a very comprehensive one, and is understood to apply to any
              proceeding in a court of justice, by which an individual pursues that
              remedy in a court of justice, which the law affords him. The modes of
              proceeding may be various, but if a right is litigated between parties in
              a court of justice, the proceeding by which the decision of the court is
              sought, is a suit.

        Weston v. City Council of Charleston, 27 U.S. 449, 464 (1829) (emphasis added).

              The Supreme Court has repeatedly reinforced this early broad view of suits

        barred by the shield of Eleventh Amendment immunity. For example, almost sixty

        years after Weston, the Court explained:

              The very object and purpose of the eleventh amendment were to prevent
              the indignity of subjecting a state to the coercive process of judicial
              tribunals at the instance of private parties. It was thought to be neither
              becoming nor convenient that the several states of the Union, invested
              with that large residuum of sovereignty which had not been delegated


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              to the United States, should be summoned as defendants to answer to
              complaints of private persons, whether citizens of other states or aliens,
              or that the course of their public policy and the administration of their
              public affairs should be subject to and controlled by the mandates of
              judicial tribunals, without their consent, and in favor of individual
              interests.
        Ex parte Ayers, 123 U.S. 443, 505 (1887) (emphasis added). And just four years

        ago, the Court reemphasized the Eleventh Amendment’s sweeping protection

        against any federal judicial process. Franchise Tax Bd. of Cal., 139 S. Ct. at 1493

        (“The Founders believed that both ‘common law sovereign immunity’ and ‘law-of-

        nations sovereign immunity’ prevented States from being amenable to process in

        any court without their consent.”) (emphasis added); see also Pennhurst, 465 U.S.

        at 101 n.11 (holding suits against the state include those where the judgment sought

        would “interfere with the public administration” or “restrain the Government in

        acting, or to compel it to act”) (quoting Dugan, 372 U.S. at 620).

              A subpoena duces tecum is a demand pursued in court for records within a

        non-party’s possession which a party asserts a legal right to obtain. It subjects a state

        to the coercive process of judicial tribunals at the instance of a private party. It

        interferes with a state’s public administration and seeks to compel it to act. A

        subpoena thus is a suit under the broad definition of that term for purposes of

        Eleventh Amendment immunity.




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                  b.       State, federal, and tribal sovereign immunity cases from other
                           circuits establish that subpoenas to states are suits.

              The Fifth Circuit recently confirmed that Eleventh Amendment immunity

        shields states from federal court subpoenas. “[T]he indignity that sovereign

        immunity was designed to prevent may arise either when the state is a defendant or

        when its sovereign prerogatives are subjected to individuals through coercive

        judicial process.” Russell, 49 F.4th at 514 (emphasis in original). Because sovereign

        immunity prefers substance over form, it applies to states as third parties to litigation

        and not just as defendants. Id. The interests sovereign immunity protects—the state’s

        dignity and authority over its prerogatives—“are no less interesting when a

        sovereign is served with a subpoena duces tecum instead of a complaint.” Id. at 515;

        see also id. at 515–16 (“When haled into court on pain of contempt and forced to

        produce its papers (and litigate about whether it has to), it is no succor to the

        sovereign that it is not named in the complaint.”). Forced compliance with a

        subpoena therefore “violates the inviolable sovereignty retained by the states.” Id. at

        515 (quotations omitted). As a result, states are immune from subpoenas issued by

        private parties in federal court. Id.; see also Bonnett, 741 F.3d at 1161 (stating in

        dicta that Tenth Circuit precedent “may well shield a state agency from discovery in

        federal court”).

              This result is compelled by established law recognizing that federal and tribal

        sovereign immunity prohibit subpoenas. As noted above, the federal government is

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        immune from subpoenas in state court proceedings. E.g., Puerto Rico v. United

        States, 490 F.3d 50, 61 n.6 (1st Cir. 2007); Boron Oil, 873 F.2d at 70–71; Russell,

        49 F.4th at 515; In re Elko Cnty. Grand Jury, 109 F.3d 554, 556 (9th Cir. 1997);

        Houston Bus. J., Inc. v. Off. of Comptroller of Currency, 86 F.3d 1208, 1211 (D.C.

        Cir. 1996). Indian tribes similarly are immune from subpoenas. E.g., Alltel

        Commc’ns, 675 F.3d at 1105–06; Bonnett, 741 F.3d at 1160; see also Miccosukee

        Tribe of Indians of Fla. v. Bermudez, 92 So. 3d 232, 234 (Fla. Ct. App. 2012) (“[T]he

        Tribe has sovereign immunity from suit, and this extends to protect the Tribe from

        complying with subpoenas.”). In both instances, a subpoena’s coercive effect

        renders it a suit for purposes of sovereign immunity. See Boron Oil, 873 F.2d at 70–

        71 (holding a subpoena to the federal government “is inherently that of an action

        against the United States because such a proceeding interferes with the public

        administration and compels the federal agency to act in a manner different from that

        in which the agency would ordinarily choose to exercise its public function”)

        (cleaned up); Alltel Commc’ns, 675 F.3d at 1103 (holding subpoenas “command a

        government unit to appear in federal court and obey whatever judicial discovery

        commands may be forthcoming. The potential for severe interference with

        government functions is apparent.”).

              These federal and tribal subpoena immunity cases apply with equal force to

        SCPRT’s Eleventh Amendment immunity. Russell, 49 F.3d at 518–19; see also


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        Lewis v. Clarke, 581 U.S. 155, 164 (2017) (“The protection offered by tribal

        sovereign immunity here is no broader than the protection afforded by state or

        federal sovereign immunity.”); Belknap v. Schild, 161 U.S. 10, 18 (1896) (holding

        states are “as exempt as the United States are from private suit”); Bonnett, 741 F.3d

        at 1160 (“But in order to hold the Tribe is not immune in this case, we would have

        to define the same term, ‘suit,’ to mean two different things, depending on whether

        judicial process is being exercised against the United States or an Indian tribe. This

        we are not inclined to do.”); cf. Coll. Sav. Bank v. Fla. Prepaid Postsecondary Educ.

        Expense Bd., 527 U.S. 666, 682 (1999) (seeing “no reason why the rule [on waivers]

        should be different with respect to state sovereign immunity” when it is well

        established that waivers are not implied in the context of federal sovereign

        immunity). If a subpoena is a suit for purposes of federal or tribal sovereign

        immunity, then it is a suit for state sovereign immunity as well. See Bonnett, 741

        F.3d at 1160. A subpoena does not become something less invasive simply because

        it is served on a state, which under the Constitution is a joint sovereign with the

        federal government. See Alden, 527 U.S. at 714.

                 c.     The prevailing trend recognizes that states are immune from federal
                        court subpoenas.

              The Eighth Circuit was the first circuit court to address this question. It

        originally held, in a cursory opinion, that states are not immune from federal court

        subpoenas. In re Mo. Dep’t of Nat. Res., 105 F.3d 434, 436 (8th Cir. 1997). The

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        Seventh Circuit was next, briefly weighing in twice in dicta in inapposite contexts.

        Ott v. City of Milwaukee, 682 F.3d 552, 556 (7th Cir. 2012) (suggesting without

        analysis and after concluding the appeal should be dismissed that the subpoenas did

        not violate state sovereign immunity because no ultimate relief was sought from the

        agencies); Barnes v. Black, 544 F.3d 807, 812 (7th Cir. 2008) (summarily suggesting

        in response to an amicus brief regarding a writ for a prison warden to transport a

        prisoner to court for his personal injury suit that a document subpoena to a non-party

        state official does not “compromise state sovereignty to a significant degree” to

        violate the Eleventh Amendment).

              But the tide has turned in the circuit courts. The Eighth Circuit called its initial

        holding into question when it recognized tribal sovereign immunity from subpoenas:

              [W]e are unwilling to predict how the Supreme Court would decide a
              case in which disruptive third-party subpoenas that would clearly be
              barred in a State’s own courts are served on a state agency in private
              federal court civil litigation. Based upon the reasoning in cases such
              as Boron Oil, the Court might well conclude that the Eleventh
              Amendment applies, or it might apply a broader form of state sovereign
              immunity as a matter of comity, which would likewise apply to claims
              of tribal immunity.5

        Alltel Commc’ns, 675 F.3d at 1104–05; see also McGehee v. Neb. Dep’t of Corr.

        Servs., 968 F.3d 899, 901 (8th Cir. 2020) (Stras, J. concurring), vacated as moot,



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               Missouri Department of Natural Resources nevertheless remains binding in
        the Eighth Circuit until the court reconsiders it en banc. See United States v. Cole,
        537 F.3d 923, 928 (8th Cir. 2008) (holding one panel cannot overrule another).

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        987 F.3d 785 (8th Cir. 2021) (“I have doubts whether, under basic sovereign-

        immunity principles, a state may be haled into federal court solely for the purpose

        of answering a third-party subpoena. . . . But because we approved of this practice

        in a nearly identical case, I reluctantly join the court’s opinion.”) (internal citations

        omitted). The Tenth Circuit, also finding that tribes are immune from subpoenas,

        similarly believed that “the Eleventh Amendment may well shield a state agency

        from discovery in federal court.” Bonnett, 741 F.3d at 1161. And building on this

        momentum, the Fifth Circuit unequivocally held that Eleventh Amendment

        immunity bars federal court subpoenas to states. Russell, 49 F.4th at 512–19.

              The most recent district court case SCPRT is aware of agreed that states are

        immune from federal court subpoenas. Felix v. Cnty. of Nassau, No. 21-CV-676

        (JAM)(SIL), 2023 WL 5978189, at *3–5 (E.D.N.Y. Sept. 12, 2023); see also Est. of

        Gonzalez v. Hickman, 466 F. Supp. 2d 1226, 1229 (E.D. Cal. 2006) (same). Another

        case noted “there is authority supporting” the contention that states are immune from

        federal court subpoenas, but it ultimately concluded otherwise. Ali v. Carnegie Inst.

        of Wash., 306 F.R.D. 20, 30 n.8 (D.D.C. 2014). The remaining district court

        decisions largely pre-date the recent circuit court opinions. And they allow

        subpoenas to the state mainly by citing one another with varying degrees of

        substantive analysis and consideration of the arguments presented here. E.g.,

        Charleston Waterkeeper v. Frontier Logistics, L.P., 488 F. Supp. 3d 240, 248–51


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        (D.S.C. 2020) 6; United States v. Univ. of Mass., Worcester, 167 F. Supp. 3d 221,

        223–25 (D. Mass. 2016); Wilson v. Venture Fin. Grp., Inc., No. C09-5768BHS, 2010

        WL 4512803, at *1–2 (W.D. Wash. Nov. 2, 2010); Arista Records, LLC v. Does 1-

        14, No. 7:08cv00205, 2008 WL 5350246, at *3–5 (W.D. Va. Dec. 22, 2008);

        Jackson v. AFSCME Loc. 196, No, 3:07CV0471 (JCH), 2008 WL 1848900, at *2–

        3 (D. Conn. April 25, 2008); Allen v. Woodford, 544 F. Supp. 2d 1074, 1078–79

        (E.D. Cal. 2008); Laxalt v. McClatchy, 109 F.R.D. 632, 634–35 (D. Nev. 1986).

              None of the decisions overruling an immunity claim had the benefit of Russell,

        and most do not discuss the analogous federal and tribal immunity cases, the proper

        definition of a suit, or the other arguments SCPRT raises. They consequently are of

        limited utility. And many of these decisions are based on the incorrect premise that

        a subpoena is a mere “discovery” request. See, e.g., Mo. Dep’t of Nat. Res., 105 F.3d

        at 436; Univ. of Mass., 167 F. Supp. 3d at 224; Ali, 306 F.R.D. at 30 n.8; Arista

        Records, 2008 WL 5350246, at *4; Allen, 544 F. Supp. 2d at 1079. Discovery is

        limited to parties to an action who are already lawfully before the Court. Fed. R. Civ.

        P. 26(b)(1). A subpoena, on the other hand, subjects a non-party to a court’s

        jurisdiction under the threat of contempt. See generally Fed. R. Civ. P. 45; see also

        9A Wright & Miller, Federal Practice & Procedure § 2451 (2d ed. 1995) (“A


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                The South Carolina State Ports Authority appealed the denial of its motion
        to quash in Charleston Waterkeeper to this Court. However, the appeal was
        dismissed as moot after the parties to the underlying case settled.

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        ‘subpoena’ is a mandate lawfully issued in the name of the court . . . .”). Subpoenas

        therefore require an “an even more demanding and sensitive inquiry than the one

        governing discovery generally.” Va. Dep’t of Corrs., 921 F.3d at 189 (citation and

        quotation omitted).

              This Court should follow Russell and hold that states are immune from

        subpoenas in federal court, and reject any holdings reached without the benefit of

        the Fifth Circuit’s reasoned analysis and without full consideration of the arguments

        raised here.

        II.   The South Carolina Attorney General Did Not Waive SCPRT’s
              Immunity from Federal Court Subpoenas by Joining the Antitrust Case
              Against Google.

              The district court made three independent errors in finding that the South

        Carolina Attorney General waived SCPRT’s subpoena immunity: (1) the Attorney

        General does not represent SCPRT or have custody, possession, or control over its

        records; (2) the Attorney General did not bring his claims against Google in a

        sovereign capacity; and (3) Google’s subpoena falls outside the limited immunity

        waiver a state agency makes by suing in federal court. The district court’s finding

        that the Attorney General’s participation in the antitrust case constituted a waiver on

        behalf of SCPRT disregards the structure of South Carolina’s government and

        extends the scope of waiver by voluntary litigation beyond constitutionally

        permissible limits.


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           A.      Waiver of immunity by voluntarily appearing in federal court is
                   narrowly tailored.

                A state’s Eleventh Amendment immunity may be waived in three ways:

                First, Congress may abrogate the States’ Eleventh Amendment
                immunity when it both unequivocally intends to do so and acts pursuant
                to a valid grant of constitutional authority . . . . Second, the Eleventh
                Amendment permits suits for prospective injunctive relief against state
                officials acting in violation of federal law . . . . Third, a State remains
                free to waive its Eleventh Amendment immunity from suit in a federal
                court.

        Lee-Thomas v. Prince George’s Cnty. Pub. Sch., 666 F.3d 244, 249 (4th Cir. 2012)

        (cleaned up). There is no dispute that the first two exceptions do not apply. Congress

        did not abrogate Eleventh Amendment immunity from subpoenas. See Fin.

        Oversight & Mgmt. Bd. for Puerto Rico v. Centro de Periodismo Investigativo, Inc.,

        598 U.S. 339, 346 (2023) (“The standard for finding a congressional abrogation is

        stringent. Congress, this Court has often held, must make its intent to abrogate

        sovereign immunity unmistakably clear in the language of the statute.”) (quotation

        omitted). And this action does not invoke the Ex parte Young fiction expressed in

        the second exception. See Lee-Thomas, 666 F.3d at 249.

                As to the third path, a state may waive its immunity in two ways. A state may

        “directly and affirmatively waive its Eleventh Amendment immunity in a state

        statute or constitutional provision” by explicitly specifying the state’s intention to

        subject itself to suit in federal court. Litman v. George Mason Univ., 186 F.3d 544,

        550 (4th Cir. 1999) (quotation omitted). Or a state may waive its immunity by


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        voluntarily invoking federal jurisdiction. Lapides v. Bd. of Regents of Univ. Sys. of

        Ga., 535 U.S. 613, 619 (2002). South Carolina has not consented to federal

        subpoenas by statute or in its constitution. Thus, the question is whether the South

        Carolina Attorney General’s participation in the Google antitrust case as a private

        enforcer and parens patriae constitutes a voluntary invocation of federal jurisdiction

        on behalf of SCPRT such that SCPRT is subject to coercive federal process.

              As “a constitutionally protected privilege,” whether a state waived its

        Eleventh Amendment immunity must be narrowly construed, Coll. Sav. Bank, 527

        U.S. at 682, and courts in the Fourth Circuit must “strictly construe[] the scope of a

        sovereign immunity waiver in favor of the sovereign,” Kadel v. N.C. State Health

        Plan for Tchrs. & State Emps., 12 F.4th 422, 429 (4th Cir. 2021), as amended (Dec.

        2, 2021). States are afforded every reasonable presumption against waiver of

        Eleventh Amendment immunity. Coll. Sav. Bank, 527 U.S. at 682. Moreover,

        sovereign immunity “is a flexible defense with multiple aspects that states can

        independently relinquish without affecting others.” Stroud v. McIntosh, 722 F.3d

        1294, 1301 (11th Cir. 2013).

              The test for whether a state has waived sovereign immunity is therefore

        stringent. Sossamon v. Texas, 563 U.S. 277, 284 (2011); see also Litman, 186 F.3d

        at 550 (“But because of the Eleventh Amendment’s vital role in preserving the

        federal balance, determinations of whether a State has waived its immunity are


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        subjected to ‘stringent,’ exacting standards.”) (quoting Coll. Savings Bank, 527 U.S.

        at 682). The state’s litigation conduct constituting waiver must be “unambiguous”

        and “evince a clear choice to submit its rights for adjudication by the federal courts.”

        Maysonet-Robles v. Cabrero, 323 F.3d 43, 52 (1st Cir. 2003); see also In re Flonase

        Antitrust Litig., 879 F.3d 61, 69–70 (3d Cir. 2017) (holding waiver by voluntary

        litigation act requires a “clear indication of the State’s intent to waive its immunity”)

        (citations and quotations omitted); A.W. v. Jersey City Pub. Schs., 341 F.3d 234, 239

        (3d Cir. 2003) (holding waiver must constitute an intentional relinquishment of a

        known right and courts will indulge every presumption against waiver); Tegic

        Commc’ns Corp. v. Bd. of Regents of Univ. of Tex. Sys., 458 F.3d 1335, 1342 (Fed.

        Cir. 2006) (“While waiver in the litigation context focuses on the litigation act, the

        waiver must nonetheless be ‘clear.’”); New York v. Microsoft Corp., 209 F. Supp. 2d

        132, 144 (D.D.C. 2002) (“Waiver is defined as the “voluntary relinquishment or

        abandonment—express or implied—of a legal right or advantage.”) (quotation

        omitted).

              State law determines whether the person suing in federal court has authority

        to waive sovereign immunity, while the scope of the waiver once effected is a

        question of federal law. Schlossberg v. Maryland (In re Creative Goldsmiths of

        Washington, D.C., Inc.), 119 F.3d 1140, 1148 (4th Cir. 1997); see also Arecibo

        Cmty. Health Care, Inc. v. Puerto Rico, 270 F.3d 17, 25 n.10 (1st Cir. 2001) (“A


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        state official may only waive the state’s sovereign immunity during the course of

        litigation where specifically authorized to do so by that state’s constitution, statutes,

        or decisions.”); cf. Lapides, 535 U.S. at 621–23 (holding the authorization to remove

        a case to federal court is enough to waive sovereign immunity when exercised).

              B.     The Attorney General’s antitrust and SCUTPA claims did not
                     waive SCPRT’s immunity from federal court subpoenas.

                     1. The Attorney General does not represent SCPRT or have custody or
                        control over SCPRT’s records.

              It is undisputed that SCPRT’s records are “not within the possession, custody

        or control” of the Attorney General. JA 94. Similarly, the South Carolina General

        Assembly is clarifying that the Attorney General does not represent South Carolina

        agencies when he brings a lawsuit in the public’s interest. See H.B. 3866 § 1, 125th

        Gen. Assemb., Reg. Sess. (2023). Considering the narrow lens through which courts

        must view waiver of a constitutionally protected privilege, it necessarily follows that

        the Attorney General cannot waive a state agency’s sovereign immunity from being

        compelled to produce records in federal court when the Attorney General does not

        represent the agency and cannot produce such records independently. See, e.g., Coll.

        Sav. Bank, 527 U.S. at 682; Kadel, 12 F.4th at 429.

              Federal courts must defer to a state’s determination of its own government

        structure and delineation of the powers of those who exercise governmental

        authority. Gregory v. Ashcroft, 501 U.S. 452, 460 (1991). SCPRT is an executive


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        agency under the Governor of South Carolina. See, e.g., S.C. Code Ann. § 1-30-

        10(A)(16) (establishing SCPRT as part of the executive branch); S.C. Code Ann. §

        1-30-10(D) (allowing the governor to require the creation of ad hoc committees

        within SCPRT); S.C. Code Ann. § 51-1-10(a) (giving the governor the power to

        appoint and remove SCPRT’s director). As explained below, the Attorney General

        operates independently of the Governor. The district court’s finding that the

        Attorney General can unilaterally waive SCPRT’s Eleventh Amendment immunity

        improperly disregards this structure of South Carolina’s government.

              The Attorney General and the Governor are separate popularly elected

        constitutional officers. See S.C. Const. art. IV, §§ 1, 3 (vesting the Governor with

        “[t]he supreme executive authority of this State” and establishing that the Governor

        be popularly elected); S.C. Const. art. VI, § 7 (“There shall be elected by the

        qualified voters of the State . . . an Attorney General” whose duties “shall be

        prescribed by law . . . .”). The Attorney General does not answer to the Governor

        and may be removed only at the ballot box or by impeachment. S.C. Const. art. XV.

              While the Attorney General “has the dual role of serving the sovereign of the

        State and the general public,” he performs these two functions individually. State ex

        rel. Condon v. Hodges, 562 S.E.2d 623, 629 (S.C. 2002); see also Condon v. State,

        583 S.E.2d 430, 434 (S.C. 2003) (holding the Attorney General’s broad power to

        bring actions on behalf of the state is not “unlimited”). The Attorney General


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        provides advice to the Governor and agency heads upon request, and he can

        represent executive agencies in court as necessary. E.g., S.C. Code Ann. § 1-7-40;

        id. § 1-7-90; id. § 1-7-110. But the Attorney General cannot automatically appear in

        a case on behalf of the state and its agencies. See Condon, 583 S.E.2d at 433–34.

        Like any other person, he must move to intervene under Rule 24, SCRCP, if the state

        and its agencies are otherwise represented. Id. at 434. And—underscoring the

        constitutional separation between the Governor and the Attorney General—the

        Attorney General can sue the Governor in the public’s interest without violating any

        constitutional, statutory, or attorney conflict rules. E.g., Hodges, 562 S.E.2d at 627–

        29. More broadly, the Attorney General does not represent any subset of South

        Carolina’s government when he brings any lawsuit in the public interest. H.B. 3866

        § 1, 125th Gen. Assemb., Reg. Sess. (2023).

              As the master of its own government structure, South Carolina’s lack of

        authority cloaking the Attorney General with possession, custody, or control over

        another state agency’s records must be afforded utmost respect under principles of

        federalism. See, e.g., Coll. Sav. Bank, 527 U.S. at 682 (1999) (“Courts indulge every

        reasonable presumption against waiver’ of fundamental constitutional rights.”)

        (quotation omitted); Arecibo Cmty., 270 F.3d at 25 n.10 (“A state official may only

        waive the state’s sovereign immunity during the course of litigation where

        specifically authorized to do so by that state’s constitution, statutes, or decisions.”).


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        This is particularly true here, where state law already provides a way for non-parties

        to obtain public records. S.C. Code Ann. §§ 30-4-10 to -165 (South Carolina’s

        Freedom of Information Act). It is not a federal court’s position to restructure or

        rewrite the authority granted to South Carolina agencies under state law.

              The district court’s finding that “it would be fundamentally unfair to punish

        Google for simply following South Carolina’s instruction to subpoena the requested

        because South Carolina allegedly lacks custody, control, and possession over

        documents within SCPRT” therefore misses the mark. JA 164–165. The state

        plaintiffs’ generic suggestion that subpoenas are the “proper channel” for Google to

        obtain individual agency records, JA 94–95, does little more than state the general

        proposition that records not within a party’s possession, custody, or control are

        obtained by subpoena. Without representing the agencies and without possession,

        custody, or control of agency records, the Attorney General cannot waive agency

        Eleventh Immunity regarding those records. Federal courts cannot reorder state

        government simply because doing so seems “fair” to a private litigant. See Alltel

        Commc’ns, 675 F.3d at 1106 (refusing to challenge the “well-established” doctrine

        of sovereign immunity “even if denying [a party] the discovery it seeks in this case

        works some inconvenience, or even injustice”).




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              This Court should therefore adhere to the faithful application of constitutional

        law and confirm that an attorney who does not represent SCPRT or control its

        records cannot waive SCPRT’s immunity from a subpoena.

                     2. The Attorney General did not sue Google in a sovereign capacity.

              “Not all that a State does . . . is based on its sovereign character.” Alfred L.

        Snapp & Son, Inc. v. Puerto Rico, ex rel., Barez, 458 U.S. 592, 601 (1982). While

        the state antitrust plaintiffs generically allege that they “bring this action in their

        respective sovereign capacities and as parens patriae,” e,g., JA 232, the capacity in

        which the South Carolina Attorney General proceeds is determined by the claims he

        asserts. See Pennsylvania ex rel. Shapp v. Kleppe, 533 F.2d 668, 675 (D.C. Cir.

        1976) (“Any answer to the question whether a state may sue on behalf of its citizens

        must be qualified by statement of the type and extent of the interests to be

        represented, and of the defendants against whom the action is brought.”). For when

        the Attorney General does not proceed on behalf of the state’s interest, his actions

        do not extend to the state as a whole. Cf. Hodges, 562 S.E.2d at 629 (noting the

        Attorney General can separately perform his “dual role of serving the sovereign of

        the State and the general public”). The capacity in which the Attorney General

        brought his claims against Google therefore is independently dispositive of the

        waiver question—if the Attorney General does not act as a sovereign, he cannot

        waive SCPRT’s Eleventh Amendment sovereign immunity.


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              A state proceeding as parens patriae pursues quasi-sovereign interests which

        “stand apart” from sovereign ones. Snapp, 458 U.S. at 602. “A state has a quasi-

        sovereign interest in the health and well-being—both physical and economic—of its

        residents in general.” Id. at 607; see also Kleppe, 533 F.2d at 673 (suggesting that a

        state may not possess parens patriae standing if the complained-of injury is solely

        to the state); Microsoft Corp., 209 F. Supp. 2d at 150 (“Injury in a suit brought by a

        state in its parens patriae capacity rests upon ‘sufficiently severe and generalized’

        harm to the welfare of that state’s citizens, rather than harm to the proprietary interest

        of the state.”). But “[t]he vagueness of this concept can only be filled in by turning

        to individual cases.” Snapp, 458 U.S. at 602.

              It is undisputed that the state plaintiffs brought the federal antitrust claims

        only as private enforcers not as sovereigns. JA 591–593; see also JA 503–505. The

        MDL court’s finding to this effect, which was made at Google’s insistence, is the

        law of the case. See Christianson v. Colt Inds. Op. Corp, 486 U.S. 800, 816 (1988)

        (“[T]he doctrine applies as much to the decisions of a coordinate court in the same

        case as to a court’s own decisions.”); Microsoft Corp., 209 F. Supp. 2d at 150 (“It

        scarcely bears repeating that, in order to find and affirm liability, the District Court

        and the Court of Appeals necessarily concluded that Plaintiffs’ capacity to bring suit

        as parens patriae was satisfied on all fronts.”).




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              The Attorney General similarly brought his SCUTPA claims in his non-

        sovereign parens patriae role. His state law claims do not “detract from the presence

        of the federal claims and the relief afforded thereunder.” Microsoft Corp., 209 F.

        Supp. 2d at 153; see also id. at 154–55 (holding it is a “well-established right of the

        states to supplement federal antitrust regulation with state antitrust laws”). These

        claims therefore do not change the existing non-sovereign status of this case.

              Moreover, the SCUTPA claim standing alone is non-sovereign. The Attorney

        General may bring an enforcement action under SCUTPA in the state’s name to

        benefit its citizens. State ex rel. Wilson v. Ortho-McNeil-Janssen Pharms., Inc., 777

        S.E.2d 176, 189 (S.C. 2015). Unlike civil actions brought by private citizens under

        SCUTPA, “there is no actual impact requirement” for an enforcement action brought

        by the Attorney General, id., because “a SCUTPA action brought by the State is to

        protect the citizens of South Carolina from unfair or deceptive acts in the conduct of

        any trade or commerce,” id. at 192 (emphasis added). See also Plowman v. Bagnal,

        450 S.E.2d 36, 38 (S.C. 1994) (differentiating between governmental action under

        the SCUTPA and private action). South Carolina courts have consistently held that

        the Attorney General proceeds on behalf of the health and well-being of South

        Carolina citizens—and not the state’s sovereign interests—when pursuing

        enforcement actions under the SCUTPA. Wilson, 777 S.E.2d at 192; Plowman, 450

        S.E.2d at 38; cf. Md. Stadium Auth. v. Ellerbe Becket Inc., 407 F.3d 255, 260 (4th


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        Cir. 2005) (holding arms of the state are not citizens of a state for purposes of

        diversity jurisdiction). The Attorney General’s SCUTPA claims are non-sovereign

        parens patriae claims. Snapp, 458 U.S. at 602 (holding that quasi-sovereign interests

        are not sovereign interests); AU Optronics Corp. v. South Carolina, 699 F.3d 385,

        394 (4th Cir. 2012) (holding that a SCUTPA claim by the Attorney General asserts

        a quasi-sovereign parents patriae interest).

              Thus, the Attorney General is not proceeding as a sovereign in connection

        with either his federal law or SCUTPA claims. By not enforcing a sovereign interest,

        the Attorney General did not waive SCPRT’s Eleventh Amendment immunity

        merely by bringing his antitrust claims against Google.

                 3.     Google’s subpoena falls outside the limited scope of one agency’s
                        waiver of another’s immunity.

              The district court—without citing authority—denied SCPRT’s immunity

        claim because SCPRT’s immunity is derivative of the State and “it makes little

        sense[] to find a state’s immunity can be imputed to its agencies but not its waiver

        of such immunity.” JA 164. This was error.

              No court has adopted the broad proposition that a waiver by one arm of the

        state necessarily is a waiver by all. “Each state agency . . . may choose whether to

        remove the cloak of Eleventh Amendment immunity.” Nat’l R.R. Passenger Corp.

        v. Roundtree Transp. & Rigging, Inc., 896 F. Supp. 1204, 1207 (M.D. Fla. 1995);

        see also Oracle Am., Inc. v. Or. Health Ins. Exch. Corp., 145 F. Supp. 3d 1018, 1026

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        (D. Or. 2015) (finding that one state agency had waived its Eleventh Amendment

        immunity to suit but that the other defendant agency did not). Courts thus strictly

        circumscribe the ability of one state agency to waive the Eleventh Amendment

        immunity of another.

              One agency’s suit will only allow third-party complaints against another

        agency which arise from the same event and are “asserted defensively, by way of

        recoupment, for the purpose of defeating or diminishing the State’s recovery, but not

        for the purpose of obtaining an affirmative judgment against the State,” including

        injunctive relief. N.J. Dep’t of Envtl. Protection v. Gloucester Envtl. Mgmt. Servs.,

        Inc., 923 F. Supp. 651, 663–64 (D.N.J. 1995). Similarly, one state agency filing a

        bankruptcy proof of claim subjects other agencies to counterclaims by the

        bankruptcy trustee to offset the original claim “where the two agencies in question

        act as unitary creditor.” Ossen v. Dep’t of Soc. Servs. (In re Charter Oak Assocs.),

        361 F.3d 760, 772 (2d Cir. 2004). Waiver of another agency’s immunity might not

        occur if that state’s government operates differently. Id.

              Google’s subpoena does not fit within the narrow class of suits allowed

        against other state agencies. The subpoena is not a claim for recoupment or setoff,

        and the Attorney General and SCPRT did not act unitarily in connection with the

        Attorney General’s antitrust case. The Attorney General’s suit therefore could not

        have waived SCPRT’s Eleventh Amendment immunity.


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              The district court’s expansive finding disregards the structure of South

        Carolina’s government. As discussed above, supra. Pp. 24–27, SCPRT is statutorily

        and constitutionally separate from the Attorney General. The filing of a lawsuit in

        the public’s interest by a constitutional officer who does not oversee executive

        agencies does not open the non-public records of every state agency, department, or

        institution to inspection. Expanding the scope of waiver from one agency’s voluntary

        litigation act to another agency brought involuntarily into federal court because of

        that act, without more, exceeds the bounds of federalism to invade a state’s

        constitutionally protected privilege. See, e.g., Lapides, 535 U.S. at 624; Oracle Am.,

        145 F. Supp. 3d at 1026.

                                          CONCLUSION

              The district court was correct to assume that SCPRT is immune from federal

        court subpoenas. Hundreds of years of Supreme Court precedent, binding circuit

        precedent, and the modern trend from other circuits compels that conclusion. But the

        district court erred in finding that the Attorney General waived that immunity for an

        unrelated state agency. The court failed to properly respect the order of South

        Carolina’s state government by allowing the Attorney General’s non-sovereign

        private enforcement and parens patriae suit against Google to waive SCPRT’s

        constitutional rights. SCPRT therefore requests that this Court reverse the district

        court’s denial of its motion to quash Google’s subpoena.


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                            STATEMENT ON ORAL ARGUMENT

              Under Local Rule 34(a), SCPRT respectfully requests that this appeal be

        scheduled for oral argument. This appeal presents novel questions of law raising

        district federalism concerns which will have a wide impact throughout this circuit,

        and one of which has divided the circuits. Oral argument therefore will substantially

        aid the decisional process.

                                               Respectfully submitted,
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       October 25, 2023
       Charleston, South Carolina




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                               CERTIFICATE OF COMPLIANCE

           1. This brief complies with the type-volume limits because, excluding the parts

              of the document exempted by Fed. R. App. P. 32(f) (cover page, disclosure

              statement, table of contents, table of citations, statement regarding oral

              argument, signature block, certificates of counsel, addendum, attachments):

                    this document contains 8,270 words.

           2. This brief complies with the typeface and type style requirements because:

                    this brief has been prepared in a proportional spaced typeface using

                    Microsoft Word in 14-point Times New Roman.

                                             s/R. Walker Humphrey, II
                                             R. Walker Humphrey, II

        October 25, 2023




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                                           ADDENDUM

                              South Carolina General Assembly
                                  125th Session, 2023-2024

        H. 3866

        STATUS INFORMATION

        General Bill
        Sponsors: Rep. Rutherford
        Companion/Similar bill(s): 486

        Introduced in the House on February 2, 2023
        Introduced in the Senate on March 8, 2023
        Last Amended on March 7, 2023
        Currently residing in the House

        Summary: Attorney General


        HISTORY OF LEGISLATIVE ACTIONS

           Date Body     Action Description with journal page number
        2/2/2023 House   Introduced and read first time (House Journal-page 6)
        2/2/2023 House   Referred to Committee on Judiciary (House Journal-page 6)
        3/1/2023 House   Committee report: Favorable with amendment Judiciary
                         (House Journal-page 38)
        3/7/2023 House Amended (House Journal-page 36)
        3/7/2023 House Read second time (House Journal-page 36)
        3/7/2023 House Roll call Yeas-114 Nays-0 (House Journal-page 37)
        3/8/2023 House Read third time and sent to Senate (House Journal-page 18)
        3/8/2023 Senate Introduced and read first time (Senate Journal-page 12)
        3/8/2023 Senate Referred to Committee on Judiciary (Senate Journal-page 12)
        3/8/2023         Scrivener's error corrected
        3/17/2023 Senate Referred to Subcommittee: Senn (ch), McLeod, Loftis, Adams,
                         Stephens


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        3/29/2023 Senate Committee report: Favorable with amendment Judiciary
                         (Senate Journal-page 13)
        3/30/2023        Scrivener's error corrected

        Indicates Matter Stricken
        Indicates New Matter

        COMMITTEE REPORT
        March 29, 2023
                                                                                   H. 3866
                                     Introduced by Rep. Rutherford

        S. Printed 03/29/23--S.                               [SEC 3/30/2023 11:19 AM]
        Read the first time March 08, 2023

                                               ________

                         THE COMMITTEE ON SENATE JUDICIARY

          To who was referred a Bill (H. 3866) to amend the South Carolina Code of Laws
        by adding Section 1-7-95 so as to clarify that, when the Attorney General proceeds
        in the public interest, the Attorney, etc., respectfully
                                           REPORT:
          That they have duly and carefully considered the same, and recommend that the
        same do pass with amendment:


          Amend the bill, as and if amended, by deleting SECTION 3.
        Renumber sections to conform.
        Amend title to conform.


        LUKE RANKIN for Committee.




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                      STATEMENT OF ESTIMATED FISCAL IMPACT
        Explanation of Fiscal Impact


        State Expenditure
          This bill establishes that when the Office of the Attorney General brings or defends
        an action in the name of the State of South Carolina, the Attorney General acts in
        the public interest of the State and not as the legal representative or attorney of any
        department or agency of state government. Therefore, the Attorney General cannot
        be considered to have possession, custody, or control over state agency documents
        or electronically stored information. This bill does list an exception for actions
        brought under Section 39-5-140 on behalf of a department or agency of state
        government. Further, this bill establishes that at the conclusion of the investigation
        or litigation, the Attorney General may return, destroy, or maintain information
        within applicable document retention policies.


          This bill will have no fiscal impact on the Attorney General’s Office, as any
        additional costs can be managed within existing appropriations.
          This fiscal impact has been updated to reflect that the House of Representatives
        adopted the House Judiciary Committee amendment.


        State Expenditure
          This bill establishes that when the Office of the Attorney General brings or defends
        an action in the name of the State of South Carolina, the Attorney General acts in
        the public interest of the State and not as the legal representative or attorney of any
        department or agency of state government. Therefore, the Attorney General cannot
        be considered to have possession, custody, or control over state agency documents
        or electronically stored information. This bill does list an exception for actions

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        brought under Section 39-5-140 on behalf of a department or agency of state
        government. Further, this bill establishes that at the conclusion of the investigation
        or litigation, the Attorney General may return, destroy, or maintain information
        within applicable document retention policies.


          This bill will have no fiscal impact on the Attorney General’s Office, as any
        additional costs can be managed within existing appropriations.




        Frank A. Rainwater, Executive Director
        Revenue and Fiscal Affairs Office

                                             ________

                                              A BILL


        TO AMEND THE SOUTH CAROLINA CODE OF LAWS BY ADDING
        SECTION 1-7-95 SO AS TO CLARIFY THAT, WHEN THE ATTORNEY
        GENERAL PROCEEDS IN THE PUBLIC INTEREST, THE ATTORNEY
        GENERAL DOES NOT UNDERTAKE REPRESENTATION OF STATE
        AGENCIES AND CANNOT BE CONSIDERED TO HAVE POSSESSION,
        CUSTODY, OR CONTROL OVER STATE AGENCY DOCUMENTS OR
        ELECTRONICALLY STORED INFORMATION; AND BY ADDING SECTION
        39-5-55 SO AS TO SPECIFY THAT THE ATTORNEY GENERAL IS ACTING
        IN THE PUBLIC INTEREST OF THE STATE IN UNFAIR TRADE PRACTICE
        PROCEEDINGS, AND TO PROVIDE AN EXCEPTION.

        Be it enacted by the General Assembly of the State of South Carolina:


        SECTION 1.         Article 1, Chapter 7, Title 1 of the S.C. Code is amended by
        adding:


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          Section 1-7-95.(A) Notwithstanding any other provision of law, when the Attorney
        General brings or defends an action in the name of the State of South Carolina
        pursuant to any power granted by common law, the Constitution of this State, or any
        provision of law, the Attorney General acts in the public interest of the State of South
        Carolina and not as the legal representative or attorney of any department or agency
        of state government, including the executive, legislative, and judicial branches, or
        any of the boards connected therewith. Such departments, agencies, or boards are
        not parties to these actions, and the documents or electronically stored information
        of such departments, agencies, or boards are not in the possession, custody, or
        control of the Attorney General.
          (B) This section does not affect the ability of the Attorney General to bring or
        defend an action in a proprietary capacity on behalf of and representing any such
        department, agency, or board.


        SECTION 2.          Article 1, Chapter 5, Title 39 of the S.C. Code is amended by
        adding:


          Section 39-5-55. Proceedings instituted by the Attorney General under this article
        are proceedings in the public interest of the State of South Carolina for purposes of
        Section 1-7-95, except actions expressly brought under Section 39-5-140 in the name
        and on behalf of a department or agency of state government or any of the boards
        connected therewith.


        SECTION 3.          Section 39-5-80 of the S.C. Code is amended to read:


          Section 39-5-80. To accomplish the objectives and to carry out the duties

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        prescribed by this article, the Attorney General, in addition to other powers conferred
        upon him by this article, may issue subpoenas to any person, administer an oath or
        affirmation to any person, conduct hearings in aid of any investigation or inquiry,
        prescribe such forms and promulgate such rules and regulations as may be necessary,
        which rules and regulations shall have the force and effect of law; provided,
        however, that none of the powers conferred by this article shall be used for the
        purpose of compelling any person to furnish testimony or evidence which might tend
        to incriminate him or subject him to a penalty or forfeiture; and provided, further,
        that information obtained pursuant to the powers conferred by this article shall not
        be made public or disclosed by the Attorney General or his employees beyond the
        extent necessary for law-enforcement purposes in the public interest.          At the
        conclusion of the investigation or litigation, the Attorney General may return
        information obtained pursuant to the powers conferred by this article to the
        producing party, destroy the information, or maintain it in accordance with
        applicable document retention policies.


        SECTION 4. This act takes effect upon approval by the Governor.
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